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                                                                                    2017 Aug-31 PM 04:59
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ALABAMA
                       (SOUTHERN DIVISION)

SANGITA BHAGAT,                           )
    Plaintiff,                            )
                                          )
vs.                                       ) CIVIL ACTION NO.:
                                          ) 2:17-CV-1139 KOB
                                          )
EQUIFAX INFORMATION                       )
SERVICES, INC., et al.,                   )
    Defendants,                           )

           PLAINTIFF’S NOTICE OF SETTLEMENT WITH
              DEFENDANT COMENITY BANK (ONLY)

       Plaintiff Sangita Bhagat (“Plaintiff”), by and through her undersigned

counsel, hereby respectfully notifies the court that Plaintiff and Defendant Comenity

Bank (only) have settled their dispute in principle. Once the settlement documents

are finalized, said parties intend to file a Stipulation of Dismissal with Prejudice

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).


                            Respectfully submitted,

                            /s/ Micah S. Adkins
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                      CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2017, I filed the foregoing paper
using the CMECF System, which will send electronic notification of the
same to the following counsel of record:

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                          /s/ Micah S. Adkins
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